Case 2:15-cv-01864-JRG-RSP Document 14 Filed 04/11/16 Page 1 of 1 PageID #: 217



                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §             Case No: 2:15-cv-01169-RWS-RSP
                                     §
 vs.                                 §             LEAD CASE
                                     §
 ADAMS EXTRACT                       §
                                     §
       Defendants.                   §
 ___________________________________ §
                                     §
 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §             Case No: 2:15-cv-01864-JRG-RSP
                                     §
 vs.                                 §             CONSOLIDATED CASE
                                     §
 GENERAL MILLS, INC.                 §
                                     §
       Defendants.                   §
 ___________________________________ §

                       ORDER OF DISMISSAL WITH PREJUDICE
 .
        On this day, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

 dismiss with prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC

 (“Symbology”) and Defendant General Mills, Inc.     Having considered the Motion and the

 pleadings in this case, the Court is of the opinion that the Motion should be, and is hereby

 GRANTED.

        Therefore, IT IS ORDERED that all claims by and between parties have are hereby

 DISMISSED WITH PREJUDICE, with each party to bear its own costs, attorneys’ fees and other

 litigation expenses.
           SIGNED this 3rd day of January, 2012.
        SIGNED this 9th day of April, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
